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 1   Leane K. Capps (pro hac vice)
     Caitlin J. Morgan (pro hac vice)
 2   POLSINELLI PC
     2950 N. Harwood, Suite 2100
 3   Dallas, TX 75201
     Telephone: (214) 397-0030
 4   Facsimile: (214) 397-0033
     Email: lcapps@polsinelli.com
 5   Email: cmorgan@polsinelli.com
 6   Mit S. Winter (SBN 238515)
     Amy D. Fitts (pro hac vice)
 7   POLSINELLI PC
     900 W. 48th Place
 8   Kansas City, MO 64112
     Telephone: (816) 753-1000
 9   Facsimile: (816) 753-1536
     Email: mwinter@polsinelli.com
10   Email: afitts@polsinelli.com
     Wesley D. Hurst (SBN 127564)
11   POLSINELLI LLP
     2049 Century Park East
12   Suite 2300
     Los Angeles, CA 90067
13   Telephone: (310) 556-1801
     Fax: (310) 556-1802
14   Email: whurst@polsinelli.com
15   Attorneys for Defendants
     THE BIG 12 CONFERENCE, INC. AND
16   CONFERENCE USA, INC.

17                             UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18   IN RE: NATIONAL COLLEGIATE Case No. 4:14-md-02541-CW
     ATHLETIC ASSOCIATION
19   ATHLETIC GRANT-IN-AID CAP          [PROPOSED] ORDER GRANTING DEFENDANTS
20   ANTITRUST LITIGATION               THE BIG 12 CONFERENCE, INC.’S AND
     ______________________________ CONFERENCE USA, INC.’S ADMINISTRATIVE
21                                      MOTION FOR CAITLIN J. MORGAN TO ATTEND
     This document relates to:          NOVEMBER 17, 2017 HEARING ON PLAINTIFFS’
22                                      MOTION FOR FINAL APPROVAL OF CLASS
     ALL ACTIONS EXCEPT:                ACTION SETTLEMENT BY TELEPHONE
23
     Jenkins v. Nat’l Collegiate Athletic   Date: November 17, 2017
24
     Ass’n, Case No. 14-cv-0278-CW          Time: 9:00 a.m.
25                                          Judge: Hon. Claudia Wilken
                                            Courtroom 2, 4th Floor
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27

28      [PROPOSED] ORDER GRANTING DEFENDANTS THE BIG 12 CONFERENCE, INC.’S AND
        CONFERENCE USA, INC.’S ADMINISTRATIVE MOTION FOR CAITLIN J. MORGAN TO ATTEND
        NOVEMBER 17, 2017 HEARING ON PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
        ACTION SETTLEMENT BY TELEPHONE
                                   CASE NO. 4:14-MD-02541-CW
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 1          This matter is before the Court on Defendants The Big 12 Conference, Inc.’s and
 2   Conference USA, Inc.’s Administrative Motion for Caitlin J. Morgan to attend the November 17,
 3   2017 hearing on Plaintiffs’ Motion for Final Approval of Class Action Settlement by telephone.
 4   After considering the Motion and all other matters presented, the Court concludes that the Motion
 5   should be granted in all respects.
 6                  Accordingly, IT IS HEREBY ORDERED THAT The Big 12 Conference, Inc.’s
 7   and Conference USA, Inc.’s Administrative Motion for Caitlin J. Morgan to Attend November
 8   17, 2017 Hearing on Plaintiffs’ Motion for Final Approval of Class Action Settlement by
 9   Telephone is GRANTED.
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13           November 13, 2017
     Dated: _________________             _____________________________________________
                                          The Honorable Claudia Wilken
14                                        United States District Judge
15                                        United States District Court, Northern District of California

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28      [PROPOSED] ORDER GRANTING DEFENDANTS THE BIG 12 CONFERENCE, INC.’S AND
        CONFERENCE USA, INC.’S ADMINISTRATIVE MOTION FOR CAITLIN J. MORGAN TO ATTEND
        NOVEMBER 17, 2017 HEARING ON PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
        ACTION SETTLEMENT BY TELEPHONE
                                   CASE NO. 4:14-MD-02541-CW
